                       Case 1:21-mj-00054-RMM Document 1 Filed 01/14/21 Page 1 of 1
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                                                       District of Columbia
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                            Defendant(s)


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          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
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                                                                                               Complainant’s signature

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
                                                                                                               Robin M. Meriweather
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